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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 UNITED STATES OF AMERICA                       §
                                                §
 vs.                                            §                     2:99CR00003-009
                                                §
 DAVID WAYNE CARLISLE                           §


                          REPORT AND RECOMMENDATION OF
                        THE UNITED STATES MAGISTRATE JUDGE

        On May 22, 2007, the court held a hearing on the government’s Petition to Revoke

 Supervised Release. The government was represented by Assistant United States Attorney Mr. Alan

 Jackson. The defendant was represented by Mr. Scott Hacker.

        David Carlisle was sentenced on September 8, 1999, before The Honorable U.S. District

 Judge David Folsom of the Eastern District of Texas after pleading guilty to the offense of

 Possession of Cocaine Base With Intent to Distribute, a Class B felony. This offense carried a

 statutory maximum imprisonment term of not more than forty (40) years.               The guideline

 imprisonment range, based on a total offense level of 25 and a criminal history category of III, was

 70 to 86 months. David Wayne Carlisle was subsequently sentenced to seventy (70) months in

 prison followed by four (4) years supervised release subject to the standard conditions of release,

 plus special conditions to include drug aftercare services. On September 17, 2004, David Wayne

 Carlisle completed his period of imprisonment and began service of the supervision term.

        On April 30, 2007, the instant petition to revoke was filed. In its petition, the government

 alleges the defendant violated the following conditions:

        1) The defendant shall not commit another federal, state, or local crime. Specifically, the

 government alleges as follows: On November 29, 2006, Mr. Carlisle was charged with the offense
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 of Possession of Marijuana.

         2) The defendant shall not illegally possess a controlled substance. Specifically, the

 government alleges as follows: On December 8, 2006, the defendant was convicted of the offense

 of Possession of Marijuana (State Jail Felony) in Harrison County District Court and sentenced to

 six (6) months in a State Jail facility.

         3) The defendant shall report to the probation officer as directed by the court or probation

 officer, and shall submit a truthful and complete written report within the first five days of each

 month. Specifically, the government alleges as follows: Mr. Carlisle failed to report to the probation

 department on October 26, 2006.

         The court scheduled a revocation hearing for May 22, 2007. At the hearing on the

 government’s petition, and after consenting to the undersigned’s taking the plea, the defendant pled

 true to the first and second allegations as set forth above. After his plea of true to the first and

 second allegations, the government abandoned the remaining allegations. Based on the defendant’s

 plea of true to the allegations, and with no objection by the defendant or the government, the court

 found that the defendant did violate his conditions of supervised release as alleged in the U.S.

 Probation Office’s petition.

         The court thereafter recommended that the defendant be committed to the custody of the

 Bureau of Prisons to be imprisoned for a term of twelve (12) months and one (1) day, consecutive

 to the term of imprisonment the defendant is currently serving in Harrison County Case Number 06-

 0542X, with no term of supervised release to follow such term of imprisonment. The court further

 recommended that the court request entry of the defendant into the most intensive drug treatment

 program that the Bureau of Prisons can accommodate. Based on the foregoing, it is


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        RECOMMENDED that the defendant’s plea of true to the first and second allegations as

 set forth in the government’s petition be ACCEPTED. It is further

        RECOMMENDED that the defendant’s supervised release be REVOKED. It is further

        RECOMMENDED that the defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of twelve (12) months and one (1) day, consecutive to the term of

 imprisonment the defendant is currently serving in Harrison County Case Number 06-0542X, with

 no term of supervised release to follow such term of imprisonment. It is further

        RECOMMENDED that the court request entry of the defendant into the most intensive drug

 treatment program that the Bureau of Prisons can accommodate.

        A party's failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within ten days after being served with a copy shall bar that party from de

 novo review by the district judge of those findings, conclusions and recommendations and, except

 on grounds of plain error, from appellate review of unobjected-to factual findings and legal

 conclusions accepted and adopted by the district court. Douglas v. United States Auto. Ass’n, 79

 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

      SIGNED this 31st day of May, 2007.




                                                   ___________________________________
                                                   CHARLES EVERINGHAM IV
                                                   UNITED STATES MAGISTRATE JUDGE




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